






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00268-CR






Arthur Williams, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 403RD JUDICIAL DISTRICT

NO. D-1-DC-09-201420, HONORABLE BRENDA KENNEDY, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


	Appellant Arthur Williams pled guilty to possession of cocaine in exchange for a two-year sentence and an agreement that federal charges would not be filed.  The trial court signed its
judgment of conviction on April 29, 2009, and appellant filed his notice of appeal on May 1, 2009. 
The trial court has certified that the cause is a plea-bargain case and that appellant has no right of
appeal.  Thus, we dismiss the appeal.  See Tex. R. App. P. 25.2(d).


					__________________________________________

					David Puryear, Justice

Before Justices Patterson, Puryear and Pemberton

Dismissed for Want of Jurisdiction

Filed:   July 24, 2009

Do Not Publish


